

NYC 4900 Holdings LLC v Sternhell (2020 NY Slip Op 07461)





NYC 4900 Holdings LLC v Sternhell


2020 NY Slip Op 07461


Decided on December 10, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 10, 2020

Before: Manzanet-Daniels, J.P., Mazzarelli, Gesmer, Moulton, Shulman, JJ. 


Index No. 656476/18 Appeal No. 12601 Case No. 2019-04193 

[*1]NYC 4900 Holdings LLC, Plaintiff-Appellant,
vLazer Sternhell et al., Defendants-Respondents.


The Price Law Firm LLC, New York (Joshua C. Price of counsel), for appellant.
Rosenberg &amp; Steinmetz PC, Valley Stream (Rachelle Rosenberg of counsel), for respondents.



Order, Supreme Court, New York County (James E. D'Auguste, J.), entered September 25, 2019, which denied plaintiff's motion for summary judgment declaring, upon the claim that defendant breached the contract for the sale of real estate, that it was entitled to retain defendant's down payment, unanimously affirmed, with costs.
The motion court correctly found issues of fact as to plaintiff's ability to deliver clear title to the property at the time of closing (see Donerail Corp. N.V. v 405 Park LLC, 100 AD3d 131, 138 [1st Dept 2012]). In opposition to plaintiff's motion, defendant submitted evidence that before the scheduled closing date the title company had discovered two notices oflis pendenson the property. Plaintiff did not reply. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 10, 2020








